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                                                           Attorneys for Plaintiffs and Petitioners
                                                      6    JOHN WILLIAMS
                                                           ROBERT VOGEL
                                                      7    SHEANNA ROGERS
                                                           MICHAEL LOEB
                                                      8    JAQUELINE WATSON-BAKER
                                                           HOUSING PROVIDERS OF AMERICA
                                                      9
                                                      10                         IN THE UNITED STATES DISTRICT COURT
ZACKS, FREEDMAN & PATTERSON, PC




                                                      11                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                      12
                          1970 BROADWAY, SUITE 1270
                             OAKLAND, CA. 94612




                                                      13
                                                           JOHN WILLIAMS, ROBERT VOGEL,                           Case Number:
                                                      14
                                                           SHEANNA ROGERS,
                                                      15   MICHAEL LOEB, JAQUELINE WATSON-                        CERTIFICATION OF INTERESTED
                                                           BAKER, and HOUSING PROVIDERS OF                        ENTITIES OR PERSONS
                                                      16
                                                           AMERICA,
                                                      17
                                                      18          Plaintiffs and Petitioners,

                                                      19         vs.
                                                      20
                                                           ALAMEDA COUNTY, ALAMEDA
                                                      21
                                                           COUNTY BOARD OF SUPERVISORS,
                                                      22   CITY OF OAKLAND, OAKLAND CITY
                                                           COUNCIL and DOES 1-10,
                                                      23
                                                      24          Defendants and Respondents.
                                                      25
                                                      26
                                                      27
                                                      28


                                                                                      CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
                                                                                                            -1-
                                                               Case 3:22-cv-01274-LB Document 6 Filed 03/02/22 Page 2 of 2




                                                      1           Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,
                                                      2    associations of persons, firms, partnerships, corporations (including parent corporations), or other
                                                      3    entities (i) have a financial interest in the subject matter in controversy or in a party to the
                                                      4    proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be
                                                      5    substantially affected by the outcome of this proceeding:
                                                      6
                                                      7           1. John Protopappas, President of Housing Providers of America
                                                      8
                                                      9
                                                           Dated: March 1, 2022                           ZACKS, FREEDMAN & PATTERSON, PC
                                                      10
ZACKS, FREEDMAN & PATTERSON, PC




                                                      11                                                   /s/ Andrew M. Zacks
                                                                                                          By:    Andrew M. Zacks
                                                      12
                          1970 BROADWAY, SUITE 1270




                                                                                                                 Emily L. Brough
                             OAKLAND, CA. 94612




                                                      13                                                         Attorneys for Plaintiffs and Petitioners

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                                                                                       CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
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